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 9
10                                   UNITED STATES DISTRICT COURT

11                                NORTHERN DISTRICT OF CALIFORNIA

12                                       SAN FRANCISCO DIVISION

13
     UNITED STATES OF AMERICA,                       )   No. CR 14-00639 EMC
14                                                   )
             Plaintiff,                              )   STIPULATION AND [PROPOSED] ORDER TO
15                                                   )   VACATE STATUS RE SENTENCING HEARING
        v.                                           )   AND TO SCHEDULE FOR SENTENCING
16                                                   )   HEARING FOR DEFENDANT ROBERT
     ROBERT ANDERSON,                                )   ANDERSON
17                                                   )
                                                     )   Hearing Date:        July 26, 2017
18           Defendant.                              )   Requested Date:      October 4, 2017
                                                     )
19                                                   )
                                                     )
20

21                                              STIPULATION
22           On March 9, 2016, the Court accepted Defendant Robert Anderson’s guilty plea in the above-
23 referenced matter and scheduled a status conference regarding sentencing for August 17, 2016, at 2:30

24 p.m.

25           On August 16, 2016, the Court continued the status conference regarding sentencing pursuant to
26 a stipulation and proposed order filed by counsel for Anderson and the government requesting said

27 continuance in light of a then up-coming January 9, 2017 trial date scheduled for Anderson’s co-

28 defendant, Scott Steever.

     STIPULATION AND PROPOSED ORDER
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 1          On November 18, 2016, Steever pled guilty to Counts 1 and 2 of the Indictment in this matter,

 2 and the Court scheduled Steever’s sentencing for February 22, 2017.

 3          Due to health conditions experienced by Steever, by a stipulated order dated February 2, 2017,

 4 the Court continued Steever’s sentencing to April 22, 2017.

 5          Due to Steever’s anticipated surgery and post-surgery recovery issues, by a stipulated order dated

 6 On April 4, 2017, the Court continued Steever’s sentencing to June 28, 2017.

 7          At the sentencing hearing on June 28, 2017, due to Steever’s medical situation, the Court

 8 continued Steever’s sentencing to August 9, 2017.

 9          Having met and conferred, counsel for Anderson and counsel for the government agree that

10 vacating the status re sentencing hearing and re-setting the Anderson case for sentencing to take place

11 after Steever’s sentencing serves the interests of efficiency and preserving court resources.

12          IT IS HEREBY STIPULATED AND AGREED between the parties to this stipulation, with the

13 Court’s permission, that the status conference regarding sentencing scheduled for July 26, 2017 at 2:30

14 p.m., be vacated, and that the Anderson case be set for sentencing on October 4, 2017, at 2:30 p.m. The

15 parties further request that Anderson’s case be referred to the U.S. Probation Office for the preparation

16 of a Pre-Sentence Investigation Report.

17

18 Dated: July 6, 2017                                   ____________/s/__________________
                                                         PATRICK D. ROBBINS
19                                                       MIKAEL A. ABYE
                                                         Attorneys for Defendant Robert Anderson
20

21
     Dated: July 6, 2017                                 BRIAN J. STRETCH
22                                                       United States Attorney

23                                                       ____________/s/__________________
                                                         CHINHAYI COLEMAN CADET
24                                                       Assistant United States Attorney
25
                                             [PROPOSED] ORDER
26
            For good cause shown, the Court Hereby Orders that Defendant Robert Anderson’s status re
27
     sentencing hearing currently scheduled for July 26, 2017, at 2:30 p.m., is vacated, and that Anderson’s
28

     STIPULATION AND PROPOSED ORDER
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 1 case is set for a sentencing hearing on October 4, 2017, at 2:30 p.m.

 2          The Court FURTHER ORDERS that Anderson’s case is hereby referred to the U.S. Probation

 3 Office for the preparation of a Pre-Sentence Investigation Report.
                                                                       ISTRIC
 4                                                               TES D        TC
               July 10, 2017                                   TA
 5 Date: ________________________                _________________________________




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                                                 HONORABLE EDWARD M. CHEN




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                                                 United States District Judge RDERED




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     STIPULATION AND PROPOSED ORDER
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